                 Case 1:23-mj-30250-PTM ECF No. 1, PageID.1
                                             AUSA:    Turkelson Filed 06/13/23 Telephone:
                                                                                Page 1 of(810)
                                                                                           7 280-6404
AO 91 (Rev. ) Criminal Complaint            Special Agent:           Paczok, FBI                   Telephone: (989) 892-6525

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                Eastern District of Michigan

United States of America
   v.
Adrian Ledesma,                                                            Case No. 1:23-mj-30250
                                                                                    Judge: Morris, Patricia T.
                                                                                    Filed: 06-13-2023 At 12:54 PM
                                                                                    CMP USA v. Adrian Ledesma (krc)




                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                   June 13, 2023                in the county of            Saginaw       in the
       Eastern           District of       Michigan        , the defendant(s) violated:
                  Code Section                                             Offense Description
21 U.S.C. § 841(a)(1)                                   Possession with intent to distribute cocaine base
18 U.S.C. § 924(c)                                      Possession of a firearm in furtherance of a drug trafficking crime




         This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                           Complainant’s signature

                                                                      Joshua Paczok, Special Agent, FBI
                                                                                            Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: June 13, 2023                                                                            Judge’s signature

City and state: Bay City, MI                                           Patricia T. Morris, U.S. Magistrate Judge
                                                                                            Printed name and title
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            AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Joshua Paczok, being first duly sworn, hereby depose and state as follows:

                            EXECUTIVE SUMMARY

       The FBI Mid-Michigan Safe Streets Task Force executed a search warrant at

the    residence   of   Adrian   Ledesma.      Distribution   amounts    of   cocaine,

methamphetamine, and firearms were located in close proximity to one another in

Adrian Ledesma’s bedroom and by the door where Adrian Ledesma was

encountered. As a result, I believe that there is probable cause to believe that he has

violated 21 U.S.C. § 841(a)(1), possession with intent to distribute cocaine and

methamphetamine and Title 18, U.S.C. Section 924(c), possession of a firearm in

the furtherance of a drug trafficking crime.

                    INTRODUCTION AND BACKGROUND

       1.     I am an “investigative or law enforcement officer of the United States”

within the meaning of Section 2510(7) of Title 18, United States Code, that is, I am

authorized by law to conduct investigations of and to make arrests for offenses

enumerated in Section 2516 of Title 18, United States Code.

       2.     The facts in this affidavit come from my personal observations,

training, experience, and information obtained from other agents and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.
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      3.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”)

and have been since March 2018. I am currently assigned to the Mid-Michigan Safe

Streets Task Force. As such, I investigate violent individuals and street gangs for

various violations of federal law, including narcotics trafficking. Prior to working

on the Safe Streets Task Force, I was assigned to the Detroit FBI Violent Gang Task

Force as a Special Agent. In that capacity, I investigated criminal street gangs for

various violations of federal law, including narcotics trafficking, weapons offenses,

violent crime, and fraud. Prior to becoming an FBI Special Agent, I was a United

States Border Patrol Agent assigned to the Laredo North Station in Laredo, Texas.

As a Border Patrol Agent, my responsibilities included identifying instances of

human and narcotics trafficking that often-involved violent criminal organizations

and drug trafficking organizations. Accordingly, I am familiar with the ways in

which gangs and drug trafficking organizations and violent criminal organizations

normally operate.

      4.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents, officers and

witnesses. This affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all of my knowledge about this

matter.




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      5.     Based on the facts set forth in this affidavit, there is probable cause to

believe that Adrian Ledesma has violated 21 U.S.C. § 841(a)(1) possession with

intent to distribute cocaine and methamphetamine and Title 18, U.S.C. § 924(c),

possession of a firearm in the furtherance of a drug trafficking crime.

      6.     On June 13, 2023 the FBI Mid-Michigan Safe Streets Task Force

executed a search warrant authorized by United States Magistrate Judge Patricia

Morris in the Eastern District of Michigan at 3526 Adams, Saginaw, MI, 48602,

which is located within the Eastern District of Michigan, Northern Division.

      7.     Adrian Ledesma and his mother Carrie Jimenez were present in the

residence during the execution of the search warrant. When task force personnel

knocked on the door and announced their presence Adrian Ledesma came to the side

door of the residence where he was observed bending down and reaching his hand

down in a motion that appeared as though he was setting something down. He then

exited the residence where he was detained by officers. Jimenez was detained at the

front door of the residence.

      8.     Upon entering the residence, I observed a Smith and Wesson handgun

tucked into a shoe just inside the side door where Ledesma exited the residence, in

the vicinity where Ledesma had been seen bending down. As the residence was

searched, a backpack was found in the kitchen approximately 6 feet away from the

Smith and Wesson handgun. Inside the backpack were multiple bags of suspected


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cocaine, in various sizes, the largest of which weighed more than 80 grams, a bag of

crystal methamphetamine, several plastic containers of marijuana, a resealable

container full of pills, a scale and other items.

        9.    During the search of the residence officers located a bag of crystal

methamphetamine weighing more than 300 grams and two handguns. The firearms

were located on the floor just a few feet away from the bag of methamphetamine.

        10.   During the search of the basement officers located an AR style rifle

with a loaded dual drum magazine, plastic packaging with drug residue, and a bag

of cocaine. The cocaine was in the same room as the rifle.

        11.   During an interview, Carrie Jimenez stated that she does not own any

firearms and no firearms in the residence belong to her. She also stated that no

narcotics in the residence belong to her. She stated that she does not go into the

upstairs bedroom as that is Adrian’s room when he stays there. She further stated

that Adrian Ledesma also sometimes sleeps in the basement when he stays there.

Jimenez stated that the backpack in the kitchen was not hers and that she had cleaned

the kitchen before she went to bed the previous evening. Jimenez stated that

Ledesma was not home and the backpack was not in her kitchen when she went to

bed.

        12.   The backpack on the floor and the Smith and Wesson pistol in the shoe

appeared to the agents to be out of place in the otherwise tidy kitchen, lending


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credibility to the statement by Jimenez that the items were placed there after she had

cleaned the kitchen.

      13.    Ledesma had exited the residence without shoes when the officers first

arrived. Prior to attempting to interview Ledesma, officers asked him if he wanted

any shoes to wear. Ledesma requested the black Nike air max from the kitchen,

beside the door. TFO Kamp retrieved the shoes. Ledesma identified the shoes as his.

The shoes were the same shoes where I initially observed the Smith and Wesson

handgun.

      14.    In my training and experience, the amount of cocaine and

methamphetamine located in the home was consistent with distribution amounts and

not personal use amounts. This conclusion is further supported by the manner in

which the drugs were packaged and the presence of a scale with the drugs.

      15.    In my training and experience, those who possess firearms in the

furtherance of a drug trafficking crime will possess their firearms in close proximity

to their drugs in order to protect their drug trafficking activities.




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      16.   Based on the foregoing, there is probable cause to believe that Adrian

Ledesma violated Title 21 U.S.C. § 841(a)(1) and Title 18, U.S.C. Section 924(c).



                                         Respectfully submitted,


                                         ___________________________________
                                         Joshua Paczok
                                         Special Agent
                                         Federal Bureau of Investigation


Sworn to before me and signed in my presence and/or by reliable electronic means
on this 13th day of June, 2023.



_____________________________________
Patricia T. Morris
United States Magistrate Judge




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